Case 3:20-cv-08267-ZNQ-TJB Document 128-1 Filed 07/25/22 Page 1 of 8 PageID: 1373




                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


   CHRISTINE CONFORTI, ARATI
   KREIBICH, MICO LUCIDE, JOSPEH
   MARCHICA, KEVIN MCMILLAN,                    Civil Action No.: 3:20-08267-ZNQ-TJB
   ZINOVIA SPEZAKIS, and NEW JERSEY
   WORKING FAMILIES ALLIANCE, INC.,
                   Plaintiff,

   v.

   CHRISTINE GIORDANO HANLON, in
   her official capacity as Monmouth County
   Clerk, SCOTT M. COLABELLA, in his
   official capacity as Ocean County Clerk,
   PAULA SOLLAMI COVELLO, in her
   official capacity as Mercer County Clerk,
   JOHN S. HOGAN, in his official capacity
   as Bergen County Clerk, EDWARD P.
   MCGETTIGAN, in his official capacity as
   Atlantic County Clerk, and E. JUNIOR
   MALDONADO, in his official capacity as
   Hudson County Clerk,
                           Defendants.



   BRIEF IN SUPPORT OF INTERVENOR REGULAR DEMOCRATIC ORGANIZATION OF
                 UNION COUNTY, INC.’S MOTION TO INTERVENE


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                                                      Union County, Inc.
  On the Brief:
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Case 3:20-cv-08267-ZNQ-TJB Document 128-1 Filed 07/25/22 Page 2 of 8 PageID: 1374




                                                    TABLE OF CONTENTS


 TABLE OF AUTHORITIES............................................................................................................ii



 STATEMENT OF FACTS AND PROCEDURAL HISTORY.......................................................1



 LEGAL STANDARD.......................................................................................................................3




 ARGUMENT....................................................................................................................................4




                                                                       i
Case 3:20-cv-08267-ZNQ-TJB Document 128-1 Filed 07/25/22 Page 3 of 8 PageID: 1375




                                                     TABLE OF AUTHORITIES

  Federal Cases                                                                                                                             Page(s)

  Benjamin v. Dep’t of Pub. Welfare of Commonwealth, 432 Fed. Appx. (3d Cir.
  2011)................................................................................................................................................3



  Commonwealth of Pennsylvania v. President United, States of Am., 888 F.3d 52 (3d Cir.
  2018)................................................................................................................................................3



  Worthington v. Bayer Healthcare, LLC, No. 11-2793, 2011 WL 6303999 (D.N.J. Dec. 15,
  2011)................................................................................................................................................3




  State Statutes
  N.J.S.A. 19:23-17............................................................................................................................2




  Rules
  Fed.R.Civ.P. 24.......................................................................................................................passim




                                                                            ii
Case 3:20-cv-08267-ZNQ-TJB Document 128-1 Filed 07/25/22 Page 4 of 8 PageID: 1376




           STATEMENT OF FACTS AND PROCEDURAL HISTORY

        Pertinent to this motion, the following sets out the procedural history.

  Plaintiffs filed their complaint on July 6, 2020 (ECF 1). An amended complaint

  was filed on January 25, 2021 (ECF 33). All named defendants and Intervenor

  State of New Hersey filed motions to dismiss. On May 31, 2022, the Court issued

  an opinion denying the motions to dismiss (ECF 111). Regular Democratic

  Organization of Union County, Inc. (“the RDO”), now moves for leave to

  intervene in this case.

        Plaintiffs’ Complaint seek to invalidate the manner in which the named

  defendants, County Clerks of various counties, administer ballot design and ballot

  placement laws within the State of New Jersey. See Plaintiffs’ Amended

  Complaint, ECF Doc. 33. Plaintiffs’ Amended Complaint seeks a declaration that

  New Jersey’s primary election bracketing and ballot placement system is

  unconstitutional, and seeks injunctive relief to “ensure that the primacy

  effect/positional bias does not continue to advantage bracketed candidates over

  other candidates running for the same office.” See Amended Complaint ¶¶ 8 and 9.

        The RDO is a not-for-profit corporation of the State of New Jersey,

  dedicated to democratic principles and the highest ideals, supporting candidates for

  the nomination of the Democratic Party in primary elections for public offices,


                                            1
Case 3:20-cv-08267-ZNQ-TJB Document 128-1 Filed 07/25/22 Page 5 of 8 PageID: 1377




  including United States Senate and Congress, State Senate and Assembly,

  Constitutional County offices, members of the Board of Commissioners, and

  municipal offices. Qualified members of the Democratic Party may, pursuant to

  N.J.S.A. 19:23-17, be permitted to use the designation “Regular Democratic

  Organization of Union County,” as their designation or slogan in primary elections.

  The RDO, by doing so, “endorses” those candidates who adopt and share the

  principles and ideals of the RDO. The RDO claims an interest, protected by the

  First Amendment, to associate itself with primary election candidates who share its

  principles and ideals, and to associate those candidates with each other, and to

  inform the primary election voters of the Democratic Party. The RDO further

  claims an interest, protected by the First Amendment, to speak freely as to those

  candidates that it has endorsed so as to inform the electorate that the RDO has

  chosen to associate itself with certain candidates, and that those candidates have

  chosen to associate themselves with each other.

        The RDO seeks to intervene in order to assert its interest in this litigation in

  maintaining its right to associate itself with candidates it chooses who share its

  principles and ideals, to have those candidates associate themselves with other

  candidates who share the same principles and ideals, and to express, through the

  balloting process, its support for those candidates who have met the standards of

  the RDO with respect to those principles and ideals.


                                             2
Case 3:20-cv-08267-ZNQ-TJB Document 128-1 Filed 07/25/22 Page 6 of 8 PageID: 1378




                                 LEGAL STANDARD

        Motions to intervene are governed by FED.R.CIV.P.24. Motions for

  intervention as of right are governed by FED.R.CIV.P. 24(a).

        A petitioner seeking to intervene of right "must establish that: (1) the
        application for intervention is timely; (2) the applicant has a sufficient
        interest in the litigation; (3) the interest may be affected or impaired,
        as a practical matter, by the disposition of the action; and (4) the
        interest is not adequately represented by an existing party in the
        litigation." In re Cmty. Bank of N. Va., 418 F.3d 277, 314 (3d Cir.
        2005) (quoting Harris v. Pernsley, 820 F.2d 592, 596 (3d Cir.
        1987)). The claimed interest in the litigation must be one that "is
        specific [to those seeking to intervene], is capable of definition, and
        will be directly affected in a substantially concrete fashion by the
        relief sought." Kleissler v. U.S. Forest Service, 157 F.3d 964, 972 (3d
        Cir. 1998). "[T]he polestar for evaluating a claim for intervention
        is always whether the proposed intervenor's interest is direct or
        remote." Id.

        An intervenor's interest in the litigation need not be a legal one so
        long as the party "will be practically disadvantaged by the disposition
        of the action." Id. at 970 (quoting 7C CHARLES ALLAN WRIGHT,
        ARTHUR MILLER & MARY KAY KANE, FEDERAL PRACTICE AND
        PROCEDURE: CIVIL 2D § 1908, at 301 (1986)

        Benjamin v. Dep't of Pub. Welfare of Commonwealth, 432 Fed.
        Appx. 94, 97-98 (3d Cir. 2011).


  Standards for motions for permissive intervention are set forth in FED.R.CIV.P.

  24(b). See Commonwealth of Pennsylvania v. President United, States of Am., 888

  F.3d 52, 57 (3d Cir. 2018). “Whether to allow a party to permissively intervene is

  left to the sound discretion of the Court.” Worthington v. Bayer Healthcare, LLC,

                                            3
Case 3:20-cv-08267-ZNQ-TJB Document 128-1 Filed 07/25/22 Page 7 of 8 PageID: 1379




  No. 11– 2793, 2011 WL 6303999, at 8 (D.N.J. Dec. 15, 2011). On timely motion,

  the court may permit anyone to intervene who (a) is given a conditional right to

  intervene by federal statute; or (b) has a claim or defense that shares with the main

  action a common question of law or fact. USCS Fed Rules Civ Proc R. 24.

                                     ARGUMENT

        Here, (1) the application for intervention on behalf of the Regular

  Democratic Organization of Union County, Inc. (“the RDO”) is timely, being filed

  post-disposition of the motions to dismiss, (2) the RDO has a sufficient interest in

  the litigation, as set forth in the Certification accompanying this motion; (3) the

  RDO’s interest in endorsing candidates, having that endorsement appear on the

  ballot, and in grouping endorsed candidates on the ballot so as to demonstrate their

  association, may be affected or impaired, as a practical matter, by the disposition

  of the action; and (4) the interest of the RDO in endorsing candidates and in the

  grouping of endorsed candidates together, is not adequately represented by an

  existing party in the litigation. The named defendants, County Clerks, being

  administrators of the election process rather than advocates in the primary process,

  certainly do not adequately represent the interest of the RDO.

        Given the nature of the organization and questions at issue in this litigation,

  RDO is an interested party and has a defense “that shares with the main action a


                                             4
Case 3:20-cv-08267-ZNQ-TJB Document 128-1 Filed 07/25/22 Page 8 of 8 PageID: 1380




  common question of law or fact.” That the RDO has a defense germane to the main

  action in this Litigation is demonstrated by Plaintiffs’ Amended Complaint, which

  seeks to invalidate the process by which the RDO’s endorsement of candidates,

  and the grouping of RDO-endorsed candidates, is manifest.

        Intervention by the RDO will not delay or prejudice the adjudication of the

  original parties’ rights. Accordingly, in order to defend the challenged statutes, the

  RDO seeks leave to participate in this matter. Accordingly, pursuant to

  FED.R.CIV.P. 24, the Regular Democratic Organization of Union County, Inc.

  requests that the Court grant its motion to intervene in this litigation as an

  interested party.

                                          Respectfully Submitted,
                                          RENAUD DEAPPOLONIO LLC
                                          Attorneys for Intervenor Regular
                                          Democratic Organization of
                                          Union County, Inc.

                                          /s/Robert F. Renaud
  Dated: July 25, 2022                    Robert F. Renaud




                                             5
